  Case 2:20-cv-00966-NR Document 60 Filed 07/13/20 Page 1 of 2


                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                       :
DONALD J. TRUMP FOR                    : CIVIL ACTION
PRESIDENT, INC.; et. al.,              :
                      Plaintiffs       :
                                       :
                                       :
                                       : NO: 2:20-cv-966-NR
       vs.                             :
                                       :
                                       :
                                       :
                                       : Judge J. Nicholas Ranjan
KATHY BOOKCVAR; et al.,                :
                  Defendants           :



                            NOTICE OF APPEARANCE



TO: Clerk, U.S. District Court for the Western District of Pennsylvania,

             Kindly enter the appearance of Anthony V. Clarke, Esquire, of the

Solicitor’s Office of McKean County, on behalf of the Defendant, McKean County

Board of Elections, in the above-captioned matter.



                                           Respectfully Submitted,

                                           COUNTY OF McKEAN

                                       By: /s/Anthony V. Clarke
                                          Anthony V. Clarke, Esquire
                                          Supreme Court No.: 61687
                                          500 West Main Street
                                          Smethport, PA 16749
                                          Telephone: (814) 331-6441
                                          Attorney for Defendant,
                                          McKean County Board of Elections
                                          Email: avclarke@mckeancountypa.org
Dated: July 13, 2020
  Case 2:20-cv-00966-NR Document 60 Filed 07/13/20 Page 2 of 2


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                      Plaintiffs       :
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                                       : Judge J. Nicholas Ranjan
KATHY BOOKCVAR; et al.,                :
                  Defendants           :



                          CERTIFICATE OF SERVICE

       I Anthony V. Clarke, Esquire, Solicitor for the County of McKean,
Pennsylvania, do hereby certify that I caused the foregoing Notice of Appearance to
be filed with the United States District Court for the Western District of
Pennsylvania via the Court’s CM/ECF system, which will provide electronic notice
to all counsel and parties of records.


                                           Respectfully Submitted,

                                           THE CLARKE FIRM

                                       By: /s/Anthony V. Clarke
                                          Anthony V. Clarke, Esquire
                                          Supreme Court No.: 61687
                                          500 West Main Street
                                          Smethport, PA 16749
                                          Telephone: (814) 331-6441
                                          Attorney for Defendant,
                                          McKean County Board of Elections
                                          Email: avclarke@mckeancountypa.org
Dated: July 13, 2020
